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                        EXHIBIT 12
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 Novel Resist Systems for EUV Lithography:
LER, Nanoparticle, Chain-Scission and MORE

 I.    Introduction.                     Brian Cardineau
                                            5/20/2013
 II.   Chain-Scission Polymers:
       Polyesters, Polyethers and
       Polyalkynes.                      Research Advisor                  Thesis Committee:
 III. Molecular Organometallic
                                         Dr. Robert Brainard               Dr. Magnus Bergkvist
      Resists for EUV(MORE).                                               Dr. Gregory Denbeaux
                                                                           Dr. Daniel Freedman
 IV. Summary.
                                                                           Dr. John Welch

         Submitted in partial fulfillment of the degree of Doctor of Philosophy in Nanoscale
        Science at the College of Nanoscale Science and Engineering, University at Albany




EUV = Extreme Ultraviolet
LER = Line-Edge Roughness
MORE = Molecular Organometallic Resists forcnse.albany.edu
                                            EUV                             1
      I. What is Extreme Ultraviolet (EUV)?
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                                                               400-700 nm




                                   X-ray         EUV                           ArF         DUV      i-line
75 keV Ions   100 keV E-Beams
                                   1.3 nm       13.5 nm                       193 nm      248 nm   365 nm
    IPL         EPL / EBDW
                                   970 eV        92 eV                        6.5 eV      5.1 eV   3.5 eV
                                                                          Today’s
                                                                          Fastest
                                                                         Computers
                    Increasing l

                                                                          2
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                Basic Photoresist Process

    hn   hn

                                                                                Positive-Tone



                        A                                       B


                                                                                Negative-Tone

A    Exposure – Resist is exposed through a mask, creating a chemical
     change where the light hits the film (may or may not include a post-
     exposure bake (PEB)).

B    Develop – Film is washed in a developer/solvent that is selective to
     the chemical change which occurred during exposure.

                                                                        3
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                     Case 1:24-cv-00120-BKS-ML     Document 24-35   Filed 01/31/24   Page 5 of 64
      Organic Chemically-Amplified Photoresists
 Today, most EUV photoresists are chemically amplified. The acid-
 sensitive resist polymer is combined with a photoacid generator (PAG).
 Upon exposure, the PAG generates photoacid which catalyzes the
 polymer decomposition.




       JSR Micro resist imaged for 14 and 12
        nm h/p lines at a dose of 15 mJ/cm2.
                                                                           The high sensitivities of
                                                                           catalysis plus careful
                                                                           engineering have led to
                                                                           powerful resist systems.



Brainard et al., Advance Process for 193-nm Immersion Lithography, 2009.
Ekinci et al., Proc. SPIE, 2013, 8679.
                                                                                4
                                                    cnse.albany.edu
                        Case 1:24-cv-00120-BKS-ML    Document 24-35    Filed 01/31/24   Page 6 of 64
   Recent Advances in Inorganic Photoresists
    Recently, some researchers have abandoned organic resist designs and
    have developed several new inorganic resists with excellent potential.

               HSQ                                  Hafnium-Oxide Nanoparticles


                                                          Inpria                                   Cornell
                                         A                                    B




        7-nm h/p lines                        12-nm h/p lines 8-nm h/p lines                   36-nm h/p lines
         294 mJ/cm2                             25 mJ/cm2       47 mJ/cm2                        12 mJ/cm2


Ekinci et al., Proc. SPIE, 2013, 8679.
Trikeriotis et al., Proc. SPIE, 2012, 8322.
                                                                                   5
                                                     cnse.albany.edu
              Case 1:24-cv-00120-BKS-ML   Document 24-35    Filed 01/31/24   Page 7 of 64
                             Thesis Questions
Novel resist design is needed to improve resist performance.
 Hypothesis 1: Acid-cleavable chain-scission polymers can
 be made that function as resists.
 •   Can acid-cleavable polymers be made and how do they function as resists?
 •   How do the mechanical and physical properties of the polymer affect the
     lithographic performance of these chain-scission resists?
 •   Can high Tg, hydrophilic resist polymers be made using the palladium
     catalyzed Hiyama coupling reaction?


 Hypothesis 2: Molecular-inorganic resists can be made for
 EUV from high optical-density materials.
 • Can inorganic/organometallic compounds act as photoresists?
 • How does ligand structure affect performance?
 • How do different metals affect performance?


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   EUV Resist Goals: Beat the RLS Tradeoff
          EUV resists need to improve Resolution, LER and Sensitivity.
It has been found difficult to improve all three of these properties simultaneously.
                         This is know as the RLS tradeoff.
      50 nm

                             Resolution – Size of Pattern

                             Sensitivity – Dose required to expose pattern
 Dose = 60 mJ/cm2
                             Line Edge Roughness (LER) – Amount a
                             printed line deviates from a perfect line




                                                                         7
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   NovelCase
          Resist          Systems
             1:24-cv-00120-BKS-ML Document for
                                           24-35 EUV        Lithography:
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  LER, Nanoparticle, Chain-Scission and MORE
                         Organic:                       Inorganic:
                       LER Degradation               Ligand Design for
                                                    Hafnium Nanoparticle
                                                          Resists
Physical
Chemistry:

                   Chain Scission Polymers                 Molecular
                                                    Organometallic Resists
                                                       for EUV (MORE)
Synthetic
Chemistry:



                                                        8
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   NovelCaseResist        Systems
             1:24-cv-00120-BKS-ML          for EUV
                                  Document 24-35             Lithography:
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  LER, Nanoparticle, Chain-Scission and MORE
                          Organic:                      Inorganic:
                       LER Degradation               Ligand Design for
                                                    Hafnium Nanoparticle
                                                          Resists
Physical
Chemistry:

                   Chain Scission Polymers                 Molecular
                                                    Organometallic Resists
                                                       for EUV (MORE)
Synthetic
Chemistry:



                                                        9
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 II. Chain-Scission Polymers: Polyesters, Polyethers and Polyalkynes

Traditional Chemically Amplified Resist:




                          hv                                         PEB




Chain-Scission Polymer :



                          hv                                        PEB




                                                                      10
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        Proposed Advantages:
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Lower LER Due to the Scission of Polymers
                                               The chain scission reaction is similar to
                                                    PMMA resists.

                         hn
                                               Chain scission resists could have
                                                    extremely low LER because the
                                                    polymer molecules are “cut through”



Conventional
Conventional                               Chain-Scission
                                           Chain-Scission




                                                                        11
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        Cleavable Polymers Design Criteria:
                             Cleavable                                                               Cleavable
    Linker                    Group                                               Linker
                                                                                                      Group




1. Acid cleavable groups in the backbone:



 Tertiary Ester          Secondary Allyl Ester        Secondary Propargyl Ester         Secondary Benzyl Ester



2. Control of dissolution properties:


                                                                                           GPC
3. Control of molecular weight during
polymerization:




 P = Polymer                                                                  12
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      Generation       I – Polyesters: Monomer Synthesis
            Case 1:24-cv-00120-BKS-ML Document 24-35 Filed 01/31/24 Page 14 of 64



                                                                               Acid-labile tertiary
 Acid-Cleavable Diols -                                                        ester in backbone




                                                                                     Primary alcohols
              Secondary alcohol can                                                  reactive toward
              react directly with acyl                                               polymerization.
              chloride to form
              activated ester.         Commercially available

 Di (Acid Chloride) Linkers -




                                                   Protected phenol can
                                                   be deprotected after
   Commercially available                          polymerization.

Hurd et al., Organic Syntheses Collective 1, 217, (1941)
                                                                          13
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     Generation I – Lithographic Results
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                                                100 nm       80 nm       60 nm
                                                  Dose = 6.9 mJ/cm2 at 70 oC PEB




    50 nm        45 nm         40 nm           36 nm
       Dose = 22.5 mJ/cm2 at 110 oC PEB


Although hopeful results were achieved, large variations
in performance were observed. We hypothesize this is
linked to impurities in the di(acid chloride) linkers.

                                                                     14
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 Generation II – Polyethers: a More Stable System

                             Generation I: Acid chlorides react with water,
                             react      with      amine         bases        and       thermally
                             decarboxylate.
                                 Impurities in this group will limit polymer
                             Mw and altered mechanical properties.


                             Generation II: α-Chloro esters are reactive
                             enough to form polymers, but not reactive
                             enough to form side products.

Polyether Condensation:




                                                                     15
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              Generation II – Monomer Synthesis
                      Case 1:24-cv-00120-BKS-ML       Document 24-35     Filed 01/31/24   Page 17 of 64




                                                                                  Lower Activation
                                                                                  Cleavable Group




                                                                                  Lower Activation and
                                                                                  Increased Solubility from
Steglich et al., Angew. Chem. Int. Ed., 17, pp. 522-24, 1978.                     Phenol
Fischer et al., Chemische Berichte, 28, pp. 3252-58, 1895.
Grignard et al., Compt. Rend., 130, pp. 1322-25, 1900. cnse.albany.edu
                                                                                   16
                    Case 1:24-cv-00120-BKS-ML   Document 24-35     Filed 01/31/24   Page 18 of 64
Generation II – Preliminary Lithographic Evaluation

                                                                                                    Predicted
                                                                                                    Tg = 59 oC
           10%                         40%                     40%                  10%




       50 nm          40 nm            30 nm        24 nm            20 nm           16 nm            14 nm

                              Dose = 60 mJ/cm2 at PEB (none)
                              Thickness = 40 nm                                14 nm h/p

     Although poor image quality was achieved,
     there does appear to be modulation as low
     as 14 nm, showing the potential resolution
     of this system.



Tg predicted using Bicerano Tg Model
                                                                             17
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                             II – Potential Cause of Problems
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          Generation
 1. Decrease in Tg: Tg can dramatically change in thin films.
     After development, the lines
     can be thought of as thin films
     perpendicular to the substrate.

   Change in Tg?


                                Change
                                in Tg.



 2. Polymer Swelling:                           Polyethers are commonly hydrogels.




                                                                               Bridging
Printed Line    Water
Keddie et al., Europhysics Letters, 27(1), pp. 59-64, 1994.
                                                                          18
                                                        cnse.albany.edu
                      Case 1:24-cv-00120-BKS-ML      Document 24-35     Filed 01/31/24   Page 20 of 64
 Generation III – Polyalkynes: More Control of Polymer Properties


                                          Generation II: Ethers are floppy, hydrogen
                                          bonding         groups        which        promote        low   Tg,
      Polyether Linkage
                                          hydrophilic polymer properties.



                                          Generation III: Alkynes are rigid, linear and
                                          non-polar which should produce high Tg,
                                          hydrophobic polymer properties, but there are
                                          few polyalkynes of this type in the literature.


 Palladium-Catalyzed Hiyama Coupling:




Hiyama et al., Cross-Coupling Reactions, 219, (2002) 61-85
                                                                                  19
                                                      cnse.albany.edu
                      Case 1:24-cv-00120-BKS-ML      Document 24-35      Filed 01/31/24   Page 21 of 64
                   Generation III – Monomer Synthesis




     Initial Attempts at Polymer Synthesis:




                                                                        Soluble brown polymer quickly
                                                                        becomes an insoluble black resin…


Medvedeva et al., Russ. J. Org. Chem., 41(10), pp. 1463-1466, 2005.
Hiyama et al., Cross-Coupling Reactions, 219, (2002) 61-85
                                                                                   20
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                          Polyalkyne Polymerization

                                               Very few examples of Hiyama polymers of
                                               this type in the literature.




    Possible Explanation – Ortho-Palladation



                                                     Palladation may result in
                                                     cross-linking of polymer:


      Palladation occurs with oxidized Pd(II)

    Polymers can be made more stable by removal of palladium, however cross-
    linking still occurs. As of yet no imaging data was obtained for this system.

Gan et al., Polyhedron, 25, (2006) 3555-3561
                                                                               21
                                                   cnse.albany.edu
            Cleavage of Generation III Polymer
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  To test chain-scission, strong acid was added to the polymer and then the
       molecular weight and structure were evaluated by GPC and NMR.




                                                                                   The GPC results show
                                              10 KDa
                                                                                   a significant decrease
                                                                                   in molecular weight
                                              0.5 KDa                              (10 to 0.5 Kda).




(P) – Polymer Segment
GPC – Gel Permeation Chromatography
NMR – Nuclear Magnetic resonance
                                                                            22
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  Summary – Chain Scission Polymers
             Case 1:24-cv-00120-BKS-ML   Document 24-35     Filed 01/31/24   Page 24 of 64




Three Generations of Polymer Design Have Been Developed.
Generation I (Polyester Synthesis):
• A set of monomers have been developed and tested.
• Although some promising results, di(acid chloride) monomers were found
  to be too reactive to yield consistent results.

Generation II (Polyether Condensation):
• A set of monomers have been developed and tested.
• Promising results with high-resolution potentials, but improved physical
  properties (Tg, hydrophobicity) are needed.

Generation III (Palladium-Catalyzed Polyalkynes):
• A palladium-catalyzed polymerization method has been developed.
• Soluble polymers have been made, but have been found to be unstable
  and crosslink upon exposure to oxygen.
                                                                      23
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   NovelCaseResist        Systems
             1:24-cv-00120-BKS-ML          for EUV
                                  Document 24-35             Lithography:
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  LER, Nanoparticle, Chain-Scission and MORE
                          Organic:                      Inorganic:
                       LER Degradation               Ligand Design for
                                                    Hafnium Nanoparticle
                                                          Resists
Physical
Chemistry:

                   Chain Scission Polymers                 Molecular
                                                    Organometallic Resists
                                                       for EUV (MORE)
Synthetic
Chemistry:



                                                       24
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            Case 1:24-cv-00120-BKS-ML Document 24-35 Filed 01/31/24 Page 26 of 64
III. Introduction:         Problems Facing Todays EUV Resists
 Today’s organic chemically amplified resists may be unable to meet
 the demands of the 16 and 10 nm nodes.

 1. Low photon absorption: At thin film thicknesses (~ 20 nm) required,
 even the darkest, fluorinated polymers only absorb ~20% of photons.

 2. Acid diffusion length: If acid diffuses from the exposed to unexposed
 region, LER can increase drastically.
                                                     Conventional
 3. Modest etch resistance: As resolution decreases and film thickness
 decreases, it is becoming progressively harder to etch to the required
 depth.

 4. Resolution approaching polymer radius:
 LER and resolution are limited by resist
 polymer radius (~1 nm).


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                                MORE
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                                       Benefits
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We have proposed a new platform of resist consisting of
high optical density metal oxide organometallic
compounds.

Potential Benefits:
1. High EUV OD: Using high OD metal oxides (Fe, Co, Sn, Bi, etc.), thin film
   resists can be made without loss to sensitivity or LER.
2. High Mass Density: The mean-free path of secondary-electrons is shorter in
   high mass-density materials. For resists this would result in a decrease in
   electron blur.
3. No Acid Diffusion: LER increases as acid diffuses into the unexposed region.
4. Excellent Etch Rates: Metal oxide films are known to have significantly better
   etch performance than even the best organic films (HfO2 ~ 25x better).
5. High Uncatalyzed Reactivity: Since metals have a large range of redox
   potentials, resist chemistry can be engineered for high sensitivity without
   acid catalysis (no acid diffusion problems).


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    The     World Through the Eyes of EUV
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A. Sn-1 Compounds
B. Sn-12 Clusters
C. Confidential Results

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              A. Original Design of Sn-1 Compounds




                                                                         or H2O2




       Our original designs of the Sn-1 compounds consisted of forming
       dibutyltin oxalate which could decompose into the insoluble oxide.


Kuhlman et al., 2005 US Patent 20050288176 .                                  28
                                                  cnse.albany.edu
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                                Initial Sn-1 Explorations


                                                                                                         Insoluble



                                                                             Distillable Oil




                          Insoluble
                                                                                               Soluble
                                                         Semi-Soluble

Sawyer et al., J. Organomet. Chem., 27, (1962) 610-614.
Deleuze et al., J. Organomet. Chem., 490, (1995) C14-C17.
                                                                                  29
                                                      cnse.albany.edu
            Case 1:24-cv-00120-BKS-ML   Document 24-35     Filed 01/31/24   Page 31 of 64
     Hypothesis of Sn-1 Compound Solubility


Sn binding sites
filled by carbonyl
                               Sn binding sites are
electrons
                               left unoccupied.




By intramolecular rearrangement, the formate carbonyls can coordinate Sn,
making a six-coordinate system.
The oxalate carbonyls however, are constrained from intramolecular
rearrangement, resulting in intermolecular cross-linking.

                                                                     30
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Evaluation of Eleven Sn-1 Compounds




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       B. Sn-12 Cluster – Preliminary Investigations
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    Sn-12 Clusters are known in the literature. This was one of several
    clusters we tested for EUV sensitivity. This one was found to have
    moderate sensitivity.




                                                                            Pinhole Exposure




                                                                            Dose = 20 mJ/cm2




Eychenne-Baron et al., Organometallics, 19, (2000), 1940-1949.
                                                                                  32
                                                      cnse.albany.edu
            Case 1:24-cv-00120-BKS-ML   Document 24-35     Filed 01/31/24   Page 34 of 64
          Compound Modification Pathways
Question: How can we modify this compound to improve its image quality?


                                           Method 1: Counter-Ion Decomposition




                                             How     does      the    counter-ion
                                             structure affect the image quality?




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             Effect of Counter-Ion Structure on ESize




                                                 Bond Dissociation Energy (Kcal/mol)




Luo, Handbook of Bond Dissociation Energies in Organic Compounds, (2003).
* - Value calculated through H-R bond energy
                                                                            34
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            Case 1:24-cv-00120-BKS-ML   Document 24-35     Filed 01/31/24   Page 36 of 64
          Compound Modification Pathways
Question: How can we modify this compound to improve its image quality?


                                           Method 1: Counter-Ion Decomposition




                                             How     does      the    counter-ion
                                             structure affect the image quality?



                                           Method 2: Homolysis of Sn-C Bond




                                             How does changing the organic
                                             group affect the image quality?



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                 Radical Stabilizing Organic Groups
 •   Tin is known to form stable radicals.
 •   Can the cluster sensitivity be
     sensitized by changing the alkyl
     group?




 Synthesis of AllylSnCl3:




 Synthesis of Tin Clusters:

                                                                                              Unable to
                                                                                              crystallize.
                                                       Cl-
                                                                            Cl-
           R = Phenyl, Allyl, Butyl
Luo, Handbook of Bond Dissociation Energies in Organic Compounds, (2003).
Strenalyuk et al., Organometallics, 25, (2006) 2626-2633.
                                                                            36
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        Case 1:24-cv-00120-BKS-ML   Document 24-35     Filed 01/31/24               Page 38 of 64
Lithographic Evaluation of Three Sn-12 Clusters




                                                                   Reactivity of Organic Group




                                                                    Dose (mJ/cm2)
                                                                                     C-H Bond E (Kcal/mol)



    There appears to be a trend in sensitivity with bond energy.




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Compound Modification Pathways - Conclusions


                                     Method 1: Counter-Ion Decomposition




                                     Sensitivity seems to correlate with molar
                                     weight rather than bond energy.



                                     Method 2: Homolysis of Sn-C Bond




                                     Sensitivity seems to correlate directly
                                     with bond energy.



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    C. NP1 – Best Results (Closed Session)

   Structure
  Confidential

                                                                        Dose of 30 mJ/cm2 !




Resolution
h/p (nm):           35                      25                         22                    18

LER (nm):           3.0                    3.3                         4.0                   7.1


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                             Thesis Questions
Novel resist design is needed to improve resist performance.
 Hypothesis 1: Acid-cleavable chain-scission polymers can
 be made that function as resists.
 •   Can acid-cleavable polymers be made and how do they function as resists?
 •   How do the mechanical and physical properties of the polymer affect the
     lithographic performance of these chain-scission resists?
 •   Can high Tg, hydrophilic resist polymers be made using the palladium
     catalyzed Hiyama coupling reaction?

 Hypothesis 2: Molecular-inorganic resists can be made for
 EUV from high optical-density materials.
 • Can inorganic/organometallic compounds act as photoresists?
 • How does ligand structure affect performance?
 • How do different metals affect performance? (will be discussed in a
                                                        closed session.)

                                                                       40
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Acid-Cleavable      Chain-Scission
           Case 1:24-cv-00120-BKS-ML            Polymers
                                     Document 24-35 Filed 01/31/24 can
                                                                    Page 42 be
                                                                            of 64 Made that

Function as Resists.
 •   Can acid-cleavable polymers be made and how do they function as resists?
          Generation I                    Generation II                 Generation III
                                   Polyethers   showed    high    Polyalkynes were made and
      Polyesters showed some
                                   resolution imaging, but low    found to be acid-cleavable,
      promising results but had
                                   Tg and high hydrophobicity     but    residual    palladium
      poor reproducibility.
                                   were problematic               caused crosslinking

 •   How do the mechanical and physical properties of the polymer affect the lithographic
     performance of these chain-scission resists?
                                          80-nm lines                           40-nm lines




                     Modeled Tg = 50 °C                           Modeled Tg = 90 °C

 •   Can high Tg, hydrophilic resist polymers be made using the palladium catalyzed
     Hiyama coupling reaction?




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Acid-Cleavable      Chain-Scission
           Case 1:24-cv-00120-BKS-ML            Polymers
                                     Document 24-35 Filed 01/31/24 can
                                                                    Page 43 be
                                                                            of 64 Made that

Function as Resists.
 •   Can acid-cleavable polymers be made and how do they function as resists? Yes
          Generation I                    Generation II                 Generation III
                                   Polyethers   showed    high    Polyalkynes were made and
      Polyesters showed some
                                   resolution imaging, but low    found to be acid-cleavable,
      promising results but had
                                   Tg and high hydrophobicity     but    residual    palladium
      poor reproducibility.
                                   were problematic               caused crosslinking

 •   How do the mechanical and physical properties of the polymer affect the lithographic
     performance of these chain-scission resists?
                                          80-nm lines                           40-nm lines




                     Modeled Tg = 50 °C                           Modeled Tg = 90 °C

 •   Can high Tg, hydrophilic resist polymers be made using the palladium catalyzed
     Hiyama coupling reaction?




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Acid-Cleavable      Chain-Scission
           Case 1:24-cv-00120-BKS-ML            Polymers
                                     Document 24-35 Filed 01/31/24 can
                                                                    Page 44 be
                                                                            of 64 Made that

Function as Resists.
 •   Can acid-cleavable polymers be made and how do they function as resists? Yes
          Generation I                    Generation II                 Generation III
                                   Polyethers   showed    high    Polyalkynes were made and
      Polyesters showed some
                                   resolution imaging, but low    found to be acid-cleavable,
      promising results but had
                                   Tg and high hydrophobicity     but    residual    palladium
      poor reproducibility.
                                   were problematic               caused crosslinking

 •   How do the mechanical and physical properties of the polymer affect the lithographic
     performance of these chain-scission resists? Increasing Tg improves performance
                                          80-nm lines                           40-nm lines




                     Modeled Tg = 50 °C                           Modeled Tg = 90 °C

 •   Can high Tg, hydrophilic resist polymers be made using the palladium catalyzed
     Hiyama coupling reaction?




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Acid-Cleavable      Chain-Scission
           Case 1:24-cv-00120-BKS-ML            Polymers
                                     Document 24-35 Filed 01/31/24 can
                                                                    Page 45 be
                                                                            of 64 Made that

Function as Resists.
 •   Can acid-cleavable polymers be made and how do they function as resists? Yes
          Generation I                    Generation II                 Generation III
                                   Polyethers   showed    high    Polyalkynes were made and
      Polyesters showed some
                                   resolution imaging, but low    found to be acid-cleavable,
      promising results but had
                                   Tg and high hydrophobicity     but    residual    palladium
      poor reproducibility.
                                   were problematic               caused crosslinking

 •   How do the mechanical and physical properties of the polymer affect the lithographic
     performance of these chain-scission resists? Increasing Tg improves performance
                                          80-nm lines                           40-nm lines




                     Modeled Tg = 50 °C                           Modeled Tg = 90 °C

 •   Can high Tg, hydrophilic resist polymers be made using the palladium catalyzed
     Hiyama coupling reaction? Probably, but these polymers are unstable




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Molecular-Inorganic         Resists
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                                                       01/31/24    EUV46 of 64from High

Optical-Density Materials.
  •    Can inorganic/organometallic compounds act as photoresists?
          Sn-1 Compounds                 Sn-12 Clusters                 Confidential Materials
           18 nm // 190 mJ/cm2                                              18 nm // 30 mJ/cm2




                                         (X)                 (R)

  •    How does ligand structure affect performance?

      Sn-1 Compounds
             Ligand structure affects:
                  • Solubility
                  • Crystallinity
                  • Resolution             Resolution (nm):        18             35             -
                  • Sensitivity            Sensitivity (mJ/cm2):   190            50             -

      Sn-12 Clusters                     Counter Ion (X)                      Organic Group (R)




          (X)        (R)                                           45
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Molecular-Inorganic         Resists
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Optical-Density Materials.
  •    Can inorganic/organometallic compounds act as photoresists? Yes
          Sn-1 Compounds                 Sn-12 Clusters                 Confidential Materials
           18 nm // 190 mJ/cm2                                              18 nm // 30 mJ/cm2




                                         (X)                 (R)

  •    How does ligand structure affect performance?

      Sn-1 Compounds
             Ligand structure affects:
                  • Solubility
                  • Crystallinity
                  • Resolution             Resolution (nm):        18             35             -
                  • Sensitivity            Sensitivity (mJ/cm2):   190            50             -

      Sn-12 Clusters                     Counter Ion (X)                      Organic Group (R)




          (X)        (R)                                           46
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Molecular-Inorganic         Resists
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Optical-Density Materials.
  •    Can inorganic/organometallic compounds act as photoresists? Yes
          Sn-1 Compounds                 Sn-12 Clusters                 Confidential Materials
           18 nm // 190 mJ/cm2                                              18 nm // 30 mJ/cm2




                                         (X)                 (R)

  •    How does ligand structure affect performance? Ligand Structure affects solubility,
       crystallinity, resolution and sensitivity
      Sn-1 Compounds
             Ligand structure affects:
                  • Solubility
                  • Crystallinity
                  • Resolution             Resolution (nm):        18             35             -
                  • Sensitivity            Sensitivity (mJ/cm2):   190            50             -

      Sn-12 Clusters                     Counter Ion (X)                      Organic Group (R)




           (X)       (R)                                           47
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                                                                        Hashim Al-Mashat

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                      Appendix




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             BMET Results: Contrast Curves



                     Expected Decarboxylation Reactivity




                                         Emax


The resist sensitivity seems to
be affected more by ligand bulk
and less by decarboxylative
reactivity.
 LER Degradation            as aDocument
       Case 1:24-cv-00120-BKS-ML  Function            of Film
                                         24-35 Filed 01/31/24 Page 52Thickness
                                                                     of 64

Objective: To study the root-cause of the phenomenon of LER degradation as a
function of film thickness.


              Film Thickness (nm)
        120          60             30


                                                           φLER




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    Ligand Design for Hafnium Nanoparticle Resists
Objective: To help Cornell further understand the ligand / nanoparticle interaction
  of their Hafnium resist systems and to develop new ligands for this system.

                                           O                                                                                O          O
                              O        O                                          O                            O        O          O
                                                                    O         O
                                                                                          O    O
                              O                                                                                O
                                      HfO2         O   O
                                                                    O                                                  HfO2 HfO2               O   O

                                                                        HfO2
   36 nm h/p              O       O        O                                                               O       O                   O

   12 mJ/cm2                                   O
                                                                                  O                                         HfO2           O
                                                            O   O
                                                                                      O
                                                                                                                   O    O       O

                                                                                                                                   O

  NMR Ligand Binding Study:                                               Free-Radical Monomer Ligands:




  Ligands to Promote Aqueous Solubility:



Trikeriotis et al., Proc. SPIE, 2012, 8322.
                                                                                              52
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           Case 1:24-cv-00120-BKS-ML   Document 24-35     Filed 01/31/24   Page 54 of 64
       Nanoparticle Mechanism Revision
Originally Intended Mechanism:



                            HfO2                                                       HfO2

            HfO2                                                     HfO2



Revised Mechanism:




                                                                     HfO2
        HfO2




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                  Model for LER vs. Film Thickness
  Keddie Model for Tg as a function of film thickness:
                                                                                φTg




Keddie et al., Europhysics Letters, 27(1), pp. 59-64, 1994.

  CNSE Model for LER as a function of film thickness:




  LERoo = Bulk LER
  A’ = Thickness Dependence                                                    φLER
  δ’ = Exponential
  φ = Area under LER curve
  (Smaller φ  Better LER thickness dependence)


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                 Measurement               of Tg in Polymer Films
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 Basic Ellipsometry:
    Linearly                                            Elliptically
 Polarized Light                                      Polarized Light
                                     70o                                        Direct                                           Indirect
                                                                           Measurement of                          Model     Measurement of
                                                                          psi (ψ) and del (∆)                               Thickness (d) and
                                                                                                                           Refractive Index (n)
               λ = 245 – 1000 nm
  Glass Transition (Tg): Temperature at which a polymer can overcome cohesive energy.
                   Refractive Index vs. Temperature                                          Thickness vs. Temperature
                                      1.57                                                    91
                  Refractive Index




                                                                           Thickness (nm)
                                     1.566                                                  90.5
                                                                                              90
                                     1.562                                                  89.5
                                     1.558                                                    89
                                     1.554                                                  88.5
                                      1.55                                                    88
                                             0          100         200                            0           100         200
                                                 Temperature (oC)                                      Temperature (oC)

                                                                                                                                       (1)



      Films were heated from 25 to 160 oC for 20 mins to outgas residual solvent. Measurements were
      then taken on cooling from 160 to 25 oC for 20 mins and data fitted to Dalnoki-Veress eq.

1. Dalnoki-Veress et al., Physical Review E 63 031801
                                                                                                              55
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       LER Measurements (BMET Data)
Summit V8.8.0

                                                                         • 7 lines
                                                                         • 580 nm length

                                                                         • Threshold = 0.5

                                                                         • Spatial Frequency
                                                                            from 1 to 400 µm-1




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                     Error Calculations


                                                                             Max
                                                             Min




• For each curve, the individual point error was added to the LER at 30
  and 40 nm thick while subtracted at the 60 and 90 nm thick to get the
  max data set.
• Subtracting the each error at 30 and 40 nm while adding the error at the
  60 and 90 nm data gave the min error.
• The max and min error sets were then modeled and the areas
  determined.
• The difference between the max and min area was used as the error
  bars.


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Nanoparticle Exchange / Precipitation

   HfO2             Exchange Ligand
                    Concentrations                                                    HfO2
                                                    D2O
                         [80 : 20]
  0.621                                                                                 0.379



                         [60 : 40]
  0.427                                                                                 0.573



                         [40 : 60]
  0.373                                                                                 0.627



                         [10 : 90]
  0.042                                                                                 0.958




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                                 Thermodynamic Results for Ligand Binding


                                                                                            HfO2   Keq = 1.7              HfO2
                                                                             +                                                   +
[Ligand Bound to Nanoparticle]




                                                                                            HfO2   Keq = 0.2              HfO2
                                                                             +                                                   +




                                                                                            HfO2   Keq = 27.8             HfO2
                                                                              +                                                  +



                                 [Free Ligand in Solution]
                                                                      ¥ - Related to acetic acid through the formate-acetate binding energy


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                   Early       Experimental Approach:
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   We will rapidly determine which chemical families
      show the best promise for detailed study
      Buy             High OD                   *     Y     Spin             Amorphous       Y     Determine
                                                                                                                *
                     Compound           Soluble?                             20 nm Film?           Clear Time
    Make              Acquired                              Coat                                      (CT)
                                                N                             N

                                            Ligand Exchange to modify                      Fixed
                                            solubility or coat properties
                                                                                         Unfixable:
                                                                                           Drop


                                                                     Y       Modify Process         Imaging at
        Stable CT?               Expose Films @                               to Optimize              PSI
                                                                               Sensitivity         No OG Tests!
       (20 nm films       Y     EUV using Berkeley        Image?
     stable to air and           DCT. Develop for
        moisture)                Pos. & Neg. tone            No or                 Test Outgassing on
                                                             Slow        Y              RoX Tool
              N

            Drop                          Modify Chemical                           Resolution and LER
*Will explore the use of aqueous and   Structure to Introduce                       Capability on BMET
organic solvents and developers. All        or Improve                                   & AMET
organic solvents will be consistent       Photoreactivity
with industrial safety standards.
                                                                              60
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                                  Shot Noise
  Poisson Statistical Model:
     σN – Statistical Variation in Dose
     N – Number of Absorbed Photons




  As the number of absorbed photons increases, the LER decreases.
  If more photons are absorbed for any given material, LER should decrease.



Brainard et al. Proc. of SPIE Vol. 5374 (2004)                                61
                                                  cnse.albany.edu
                    LER
                   Case   (nm)
                        1:24-cv-00120-BKS-ML   (mJ/cm224-35
                                          DoseDocument )              Filed 01/31/24   Page 63 of 64
                                                                           X            Resolution
4.9    560   4.5    520         2.9   380   5.6   380    8.9    350
                                                                                        Capabilities
                                                                                            for
3.0    560   2.5    520
                                                                                         Different
                                                                                         Ligands.
3.9    560   3.6    520         3.8   380   5.5   760    14     700




3.9    500   3.6    480         3.8   350   5.5   350    14     320




7.3    560   9.0        520     7.6   380   9.0   380




9.4    560   6.2    520         7.7   380   8.1   380     13    350




      50           35             25      22                   18
                              h/p CD (nm)
                                                                                62
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Correlation   between ligand structure and sensitivity
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                                                 ~60 kcal/mol
                                                 or ~3 eV




                                          Products



     Decreasing the energy of the rate-limiting transition state should
     increase the probability of reaction (and thus the sensitivity)
